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                     IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 GREENWOOD DIVISION


 UNITED STATES OF AMERICA                         )       CRIMINAL NO.: 8:19-cr-00181
                                                  )
            v.                                    )
                                                  )
 DETRIC LEE MCGOWAN                               )
    a/k/a “Fat”                                   )               AMENDED

                      Information Regarding Imposition of Enhanced Sentence

       The Defendant, DETRIC LEE MCGOWAN, prior to committing the violation(s) contained in

the Superseding Indictment under this case number, had the following conviction(s) for serious drug

felonies, pursuant to Title 21, United States Code, Sections 802(57) and (58), that had become final

for the purposes of Title 21, United States Code, Sections 841 and 960:

1.     December 19, 1997: a conviction for Conspiracy to Possess with Intent to Distribute Cocaine
       and Crack Cocaine, a serious drug felony, in the District of South Carolina, under Criminal
       Number: 8-97-00170 for which the Defendant served more than 12 months in prison and for
       which the Defendant was released within 15 years of the commencement of the offenses
       charged in counts 1, 2, 10, 12 and 25 of the Superseding Indictment.

2.     February 2, 2011: a conviction for Conspiracy to Possess with Intent to Distribute Cocaine, a
       serious drug felony, in the Middle District of Georgia, under Criminal Number: 3:09-00043
       for which the Defendant served more than 12 months in prison and for which the Defendant
       was released within 15 years of the commencement of the offenses charged in counts 1, 2,
       10, 12 and 25 of the Superseding Indictment.

       As a result of the above listed prior conviction(s), the Defendant is subject to enhanced

penalties pursuant to Title 21, United States Code, Sections 841, 960 and 851.

                                               Respectfully submitted,

                                               SHERRI A. LYDON
                                               UNITED STATES ATTORNEY

                                       BY:      s/Leesa Washington
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May 24, 2019
